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IN THE UNITED STATES DISTRICT COURT FOR JHE

EASTERN DISTRICT OF VIRGINIA CLERK, NORFOLK VA COURT
Norfolk Division
UNITED STATES OF AMERICA
v. No. 2:24-cr-103
STACEY STOREY,
Defendant.

AFFIDAVIT IN SUPPORT OF ISSUANCE OF AN ARREST WARRANT

I, Paul G. Wolpert, being first duly sworn state:

1. I am a Special Agent of the Department of Homeland Security, Immigration and Customs
Enforcement (ICE), Homeland Security Investigations (HSN, currently assigned to the Office of
Professional Responsibility. Prior to my current assignment, I was assigned to the Assistant
Special Agent in Charge (ASAC), Norfolk, Virginia. I have been so employed since April 2002.
As part of my daily duties as an HSI agent, J investigated criminal violations related to child
exploitation of children as well as other violations involving the use of the Internet, including the
creation and distribution of obscenity.

2. Your affiant has participated in the investigation of the offenses described in this affidavit.
As a result of your affiant s participation in this investigation and a review of reports made by other
law enforcement officers, your affiant is familiar with the circumstances of this on-going
investigation. I have not included each and every fact known to me in this affidavit, but only the
facts I believe are necessary to establish probable cause to believe STACEY STOREY has engaged
in the crimes of conspiracy to create and distribute animal crush videos, in violation of 18 U.S.C. §§
371 and 48(a)(2), (a)(3).

3. I submit this affidavit in support of an arrest warrant related to the criminal information filed
charging STOREY with conspiracy to create and distribute animal crush videos, 2:24cr103.

PROBABLE CAUSE TO ARREST STACEY STOREY

4, In June 2022, HSI Norfolk initiated an investigation into individuals involved with the
conspiracy and production, sale, and distribution of monkey torture videos. The individuals
created and participated in group discussions through encrypted chat services in which the
discussions revolved around the abuse, torture, and destruction of various aged monkeys. The
chat communications included the discussion of the types of torture the members wished to see,
and the methods of providing “donations” to help pay the individuals to make the videos. The
original primary subject was Michael Macartney, aka “Torture King” who resided in
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Chesapeake, Virginia. Since the start of the investigation several individuals throughout the
conspiracy, including Macartney, have since plead guilty and been sentenced.

5. The investigation of the conspiracy identified defendant STACEY STOREY, who resides
in Alabama, as one of the chat group creators dedicated to the production and distribution of
animal crush videos. STOREY communicated with Macartney and others, and briefly “teamed”
up to expand their individual groups and trade their respective personal videos. STOREY used
the online monikers “Sadistic,” “Sadistic Queen,” and “SadisticMindfuck,” among others.

6. In October 2022, STOREY was consensually interviewed by HSI agents in Alabama.
STOREY initially claimed her online accounts were hacked, but eventually admitted to viewing
videos depicting the torture and death of monkeys. At the conclusion of the interview STOREY
provided her cellphone and a laptop computer to the agents for a forensic review. The results of
the search revealed 82 videos of monkey torture on her cellphone.

7. As part of the investigation, HSI Norfolk agents obtained records for various payment
accounts used by the groups to pay for the production of animal crushing videos, to include
PayPal, Cashapp, and Venmo. A review of the logs indicated that STOREY received over $2800
in small payments from other group members to then forward to her contact in Indonesia to get
the videos made.

8. An example of one of the videos that was produced occurred in April 2022 when the
discussion within the group referenced the “ants in a jar idea,” and individuals sent money to
STOREY. The money was then forwarded to the producer in Indonesia. Shortly thereafter a
video was sent to STOREY which depicted the torture of a monkey which was placed in a jar
filled with fire ants. The monkey is eventually removed from the jar and is sodomized from the
anus through its mouth with a stick causing its death.

9. In April 2023, a search warrant was executed at the residence of Jeffrey Radtke who was
another conspirator in Minnesota. The payment records indicated that STOREY had sent Radtke
the payments to get the animal crush videos created. Radtke then sent the money to the
individual in Indonesia. Subsequent exams of Radtke’s seized electronics revealed chat
communications from various monkey torture groups. A review revealed that STOREY had
recently become active again throughout the groups after her interview with HSI using the screen
name “Sadistic”.

10. ‘In June 2023, STOREY was again interviewed in Alabama by HSI Norfolk agents.
During the interview STOREY initially stated she had provided access to her accounts for others
to use and claimed to not have been on the chatting platforms “for a long time.” The agents
informed STOREY they were in possession of chat logs, and her online account records, and the
access logs indicated that they were only accessed from her area in Alabama. STOREY then
claimed to have gone back online a month prior in an attempt to obtain more information about
others to provide to law enforcement. At the conclusion of the interview, STOREY provided her
cellphone to the agents for an examination, and consent to access her online chat account.
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11. A review of the cellphone revealed 675 videos, and 11,000 images depicting animal
crushing. A review of her online chat account revealed that after returning to the groups,
STOREY reached out to former members and asked if they had any of her videos so she could
get them back. STOREY even specifically mentioned the number (13) of videos she was looking
for which coincided with the number of times she sent money to Radtke to get the new videos
produced. Several of her former members were able to send the videos to her. A review of the
videos STOREY had created also revealed they were watermarked with her online monikers.

12. Areview of the chat communications and payment records indicated that STOREY had
been involved in animal crushing activities from approximately August 2021 to June 2023.
STOREY’s involvement with Michael Macartney was conducted from approximately February —
July 2022.

13. Based on the information and evidence set forth above, your affiant respectfully submits
that there is probable cause to believe that STACEY STOREY has committed the following
offenses: Conspiracy and Creation and Distribution of Animal Crush Videos, in violation of 18
U.S.C. §§ 371 and 48(a)(2), (a)(3).

14. Accordingly, I request that a warrant be issued authorizing the arrest of STACEY

STOREY.
LZ

Paul G. Wolpert

Special Agent

Department of Homeland Security
Immigration and Customs Enforcement
Norfolk, VA

ath
Sworn to before me this / ob day of December, 2024.

United States Magistrate Jud.
Eastern District of Virginia
